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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re:                                                  Chapter 11

             Desolation Holdings LLC, et al.,1                       Case No. 23-10597 (BLS)

                      Wind Down Entity.                              (Jointly Administered)

                                                                     Re: Docket No. 588

                       CERTIFICATE OF NO OBJECTION REGARDING DOCKET NO. 588

                            The undersigned hereby certifies that, as of the date hereof, he has received no

         answer, objection, or other responsive pleading to the Plan Administrator’s Objection to Claim

         C598-347 Filed by Jacqueline Downing Pursuant to Section 502 of the Bankruptcy Code and

         Bankruptcy Rule 3007 [Docket No. 588] (the “Objection”) filed with the United States Bankruptcy

         Court for the District of Delaware (the “Court”) on November 20, 2023.

                            The undersigned further certifies that, as of the date hereof, he has reviewed the

         Court’s docket in these cases and no answer, objection, or other responsive pleading to the

         Objection appears thereon.             Responses to the Objection were to be filed and served by

         4:00 p.m. (ET) on December 4, 2023.

                            As no responses to the Objection have been received, it is hereby respectfully

         requested that the proposed order attached to the Objection be entered at the earliest convenience

         of the Court.




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               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
               number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
               Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle,
               WA 98104.
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             Dated: December 8, 2023           YOUNG CONAWAY STARGATT &
             Wilmington, Delaware              TAYLOR, LLP

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                                               ADMINISTRATOR




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